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   AO 91 (Rev. 11/ll) Criminal Complaint


                                           UNITED STATES DISTRICT COURT
         o Ri~~NA~                                                 for the                                           u.s.
                                                        Central District of California
                                                                                                                   JAN 2~~
        United States of America,                                                                                                CALIFORNIA
                                                                                                                     DISTRICT OF

                         V.
                                                                                         ~', _ ~,'.
       GUTA CABACTULAN, MARISSA DUENAS,                                       Case No. ~               ~~20 ~ O ?5
       and AMANDA ESTOPARE,                                                                                     .~

                         Defendants.


                                                     CRIMINAL COMPLAINT

             I,the complainant in this case, state that the following is true to the best of my knowledge and belief.

  On or about the dates of in or around October 2013 to in or around December 2019, in the county of Los

  Angeles, in the Central District of California, the defendants violated:

               Code Section                                                  Offense Description

               18 U.S.C. § 371                                               Conspiracy to Commit Immigration
                                                                             Fraud

             This criminal complaint is based on these facts:
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               r:1       ~~'„                                                                  Complainant's signature
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               Cv.   C..a        ~
                                                                                   Anne W. Wetzel, Special Agent, FBI
                                                                                                 Printed name and title
   Sworn to before me and signed in my presence.

    Date:
                                                                                                      Judge's signature

    City and state: Santa Ana, California                              Honorable Autumn D. Spaeth, U.S. Magistrate Judge
                                                                                               Printed name and title
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                             A F F I D A V I T

        I, Anne M. Wetzel, being duly sworn, hereby declare and

 state as follows:

                              I. INTRODUCTION

        1.   I am a Special Agent ("SA") with the Federal Bureau of

Investigation ("FBI"), and have been so employed since March

2004.     Since October 2012, I have been assigned to the Los

Angeles Field Office, Civil Rights Squad, and have worked at the

Ventura Resident Agency since October 2016.          In that capacity, I

am responsible for investigating human trafficking, among other

related offenses.

                         II. PURPOSE OF AFFIDAVIT

     2.      This affidavit is made in support of a criminal

complaint against and arrest warrants for GUTA CABACTULAN

(~~CABACTULAN"), MARISSA DUENAS (~~DUENAS"), and AMANDA ESTOPARE

("ESTOPARE"), for conspiring to commit immigration fraud, in

violation of Title 18, United States Code, Section 371.1

     3.      The facts set forth in this affidavit are based upon

information obtained from other law enforcement personnel, my

personal knowledge, and my training and experience.           This
affidavit is intended to show merely that there is sufficient

probable cause for the requested complaint and warrants, and does

not purport to set forth all of my knowledge of or investigation

into this matter.    Unless specifically indicated otherwise, all


     1 As alleged here, the elements of 18 U.S.C. § 371 are:
(1) There was an agreement between two or more persons to commit
immigration fraud, in violation of 18 U.S.C. § 1546(a); and
(2) the defendant became a member of the conspiracy knowing of
at least one of its objects and intending to help accomplish it.


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conversations and statements described in this affidavit are

related in substance and in part only.

                    III. STATEMENT OF PROBABLE CAUSE

      A.    Background

      4.    The FBI is conducting a criminal investigation into

 human trafficking and immigration fraud by individuals

 associated with a Filipino-based church called the Kingdom of

 Jesus Christ, The Name Above Every Name (`~KOJC").          These crimes
 are being committed using the Children's Joy Foundation USA

 ("CJF"), which is a non-profit charity (a 501(c)(3)) in the

 United States operated by KOJC.

     5.     The FBI's investigation has revealed that KOJC

administrators CABACTULAN, DUENAS, and ESTOPARE conspired to

submit false visa applications to the United States so that the

United States would allow KOJC workers to be admitted into the

country under false pretenses.       For instance, DUENAS provided a

letter to a KOJC worker for her to give to immigration

authorities telling them that the KOJC worker would travel to the

United States to perform in a concert.          But once in the United

States, CABACTULAN, DUENAS, and ESTOPARE -- along with their co-

conspirators -- would take away the KOJC workers' passports and

force them, including the above-referenced worker, to beg for and

solicit donations across the country as "volunteers," working

long hours nearly every day, year-round.          The conspirators
referred to `volunteers" as Full Time Workers, or "FTWs," and

tracked their daily fundraising.          KOJC workers often slept in

cars overnight, parked at truck stops.          For those KOJC workers



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who proved to be good at soliciting money, KOJC administrators,

including CABACTULAN, DUENAS, and ESTOPARE, would force them into

sham marriages so they could stay in the United States and

continue soliciting.     Based on an analysis by United States

Citizenship and Immigration Service ("USCIS"), which reviewed

immigration records of known KOJC members, between March 19, 1999

and December 5, 2019, 82 marriages were entered by KOJC

administrators and full-time solicitors.

     6.    KOJC and CJF advertise that the solicited money will

be used to aid Filipino children; however, little to no money

solicited appears to benefit impoverished or in-need children.

Instead, the money appears to directly finance KOJC operations,

as directed by certain individuals associated with KOJC, and the

lavish lifestyle of its leaders.         Subpoenaed bank records show

that KOJC accounts received approximately $20 million in cash

deposits from 2014 through mid-2019.        Based on witness

interviews, subpoenaed bank records, and police reports, most of

these funds appear to derive from street-level solicitation.

     7.    The evidence also shows that KOJC workers are required

to meet daily cash solicitation quotas set by KOJC/CJF

administrators.    These daily quotas are increased during the

months of September/October through January/February of the

following year.    This period of increased quotas, which coincides

with the United States holiday season, is often called the Month

of Blessings or MOB.    According to victims who have left KOJC,

victims receive various consequences for failing to meet cash

solicitation quotas, including mental and physical abuse.



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      8.   For victims who prove capable of meeting the cash

 solicitation quotas, KOJC administrators seek to maintain the

 legal United States status of the workers by fraudulently

 obtaining student visas or by forcing the victims to engage in a

fraudulent marriage with another member of KOJC who has already

 obtained United States citizenship.       These workers, in turn,

stay in the United States and solicit year-round.

     B.    CABACTULAN's, DUENAS's, and ESTOPARE's Role in the
           Offense

     9.    Based on witness interviews and documents received

from victims who fled KOJC, as well as materials obtained through

legal process, the main KOJC administrators in the United States

were CABACTULAN, DUENAS, and ESTOPARE.        They were in charge of

KOJC workers in the United States (and, in particular, within the

Southern California area), and lived at the KOJC compound in Van

Nuys, California, within the Central District of California

(hereinafter referred to as the "Van Nuys Compound").

           a.    CABACTULAN was the lead KOJC administrator in the

United States, in charge of both DUENAS and ESTOPARE.

CASACTULAN maintained direct communication with KOJC leadership.

CABACTULAN previously had responsibility over financial

reporting and the collection (and withholding) of passports from

KOJC workers -- and also partook in coordinating

misrepresentations to immigration authorities and fraudulent

marriages for KOJC workers -- but has since taken on an overall

leadership role in the United States.
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            b.    DUENAS was the human resources leader of KOJC in

 the United States.     DUENAS had responsibility over collecting

 and securing passports from KOJC workers; DUENAS would prevent

 KOJC workers from freely accessing their passports and other

 important documents.     DUENAS also handled fraudulent

 immigration-related documents for KOJC workers; in particular,

 DUENAS participated in applying for sham marriages and

 fraudulent student visas on behalf of KOJC workers to keep them

 in the United States so that they could continue soliciting

 money.

     10.    ESTOPARE was in charge of the money and financial

reporting of KOJC workers in the United States.          As shown below,

ESTOPARE knew that the KOJC workers were predominantly soliciting

funds as full-time workers instead of entering and remaining in

the United States for the stated purpose in their immigration

applications.    ESTOPARE provided daily quotas that each KOJC

worker had to solicit each day, and each KOJC worker reported his

or her daily fundraising totals to ESTOPARE.         ESTOPARE would

punish KOJC workers who did not meet their daily solicitation

goal or quota.    ESTOPARE was also in charge of directing the flow

of the cash, including by instructing workers to make structured

deposits that would avoid detection from banks, and by

instructing KOJC workers flying to the Philippines to hide money

in their socks and other clothing within their personal luggage

so that the money could be presented to KOJC leadership in the

P hilippines.
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      C.     KOJC and CJF

     11.     Based on www.kingdomofjesuschrist.org, on or about

September 1, 1985, KOJC was established in Davao, Philippines,

and was later brought to the United States.         According to the

w ebsite, KOJC "is a religious organization founded and led
                                                            by the
Appointed Son of God."         KOJC reportedly has followers around the

world.     CJF was also founded in Davao, Philippines.       It was
created for the claimed purpose of assisting needy children.

     D.      Multiple KOJC Victim-Escapees Come Forward

             1.     Victim A

     12.     On or about October 21, 2015, FBI SAs interviewed

Victim A, a former KOJC member who fled the organization.

Victim A provided the following information:2

             a.     Victim A joined KOJC when she was approximately

seventeen years old and escaped in approximately 2014.           While a
member of KOJC, Victim A, and other KOJC workers, solicited

monetary donations to support KOJC and also the personal needs

of the workers.       KOJC did not pay the workers, and only a small

portion of the money collected by the workers went toward

supporting the living needs of the workers.

             b.     Victim A wrote a "commitment letter" to KOJC and

its leader.       In her commitment letter, Victim A gave up all

`attachments" to her family.        After the commitment letter,


     2 On March 18, 2016, the FBI assisted Victim A in obtaining
continued presence relief, a form of temporary immigration
status that allowed her to remain in the United States, which
currently expires on February 21, 2021. Victim A's eligibility
for relief was based on her status as a victim of trafficking
who was willing to assist in the investigation and prosecution
of traffickers.


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Victim A became a member of the Pastoral Department and acted as

a "pastoral" for the KOJC leader.        According to Victim A, as

well as other victim-escapees whom the FBI interviewed,

including Victim L3 and Victim M,4 pastorals worked as personal

assistants to the KOJC leader.

           c.    When Victim A received her visa to travel to the

United States, she did not know that she would be working and

soliciting donations.      The visa's stated purpose was for KOJC

musical performances and, when she first arrived in the United

States, she did perform in concerts; however, Victim A was




      3 Victim L received continued presence relief on her own
accord. However, her ability to acquire temporary immigration
status was aided, in part, by her cooperation with the FBI. In
approximately May 2016, Victim L obtained a T visa, which she
currently holds, which is a type of visa allowing certain
victims of human trafficking and immediate family members to
remain and work temporarily in the United States, typically if
they report the crime to law enforcement and agree to help them
in the investigation and/or prosecution of the crime committed
against them. Victim L obtained the T visa on her own accord.
In addition, in approximately July 2016, Victim L received a
$500 payment from the FBI for taking time off from work to
assist the FBI in reviewing and interpreting KOJC documents.
      4 On November 30, 2017, Victim M received continued presence
relief, with the assistance of the FBI, which expires on October
1, 2021. In addition, based on my review of court documents, I
know that a criminal case was brought against Victim M in Hawaii
b y state authorities that was ultimately dismissed. In summary,
after Victim M left KOJC, an assistant to a KOJC administrator
filed a missing person report. Officers located Victim M, who
told the officers that she ran away because she had been
physically abused by the aforementioned KOJC administrator.
When officers asked whether Victim M wished to press charges,
she said yes. Afterwards, the mother of a minor, who is part of
KOJC, filed a complaint alleging that Victim M was in a sexual
relationship with the minor. Later, Victim M was arrested and
charges were filed. But the state criminal case was dismissed
on or about November 21, 2019 after the minor withdrew her
complaint citing confusion.


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shocked when she was sent to New York to solicit for donations

on behalf of KOJC.

            d.    When Victim A first arrived in California, she

was taken to the Van Nuys compound.        The premises had an office,

and the workers were told to go to the office and give their

passports to CABACTULAN for safe keeping.

           e.    The workers were instructed by KOJC

administrators to lie to the public about the donations when

they were soliciting and not to mention KOJC or its leader.             The
workers were instructed to provide donors with a fake receipt

for their donations if asked.       If the workers were contacted by

the police, they were instructed to say that they were raising

money for children and not to involve the church.

           f.    Once Victim A began soliciting in the United

States, she was given a quota to meet each day, which caused her

stress.   She and the other workers would be woken up at 4:00

a.m. or 5:00 a.m., and they would leave almost immediately to

start working.    The workers would solicit all day until they hit

their quota and were not given days off.         Workers would be

forced to solicit even when they were sick, and might be

physically punished if they failed to meet their quota.

           g.    After the period of heightened quotas, referred

to as the Month of Blessings, workers received an annual

honorarium, which was essentially a cash reward.          The amount of
the honorarium depended on how much money the member had

collected during the Month of Blessings.        For 2013, Victim A




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 received an honorarium of 500 Philippine pesos.s          Besides the
 honorarium, Victim A was not paid for soliciting on behalf of

 KOJC.     Victim A stated that KOJC administrators told the workers

 that all their living needs were taken care of so all they had

 to worry about was collecting money.

             h.   Workers who are very good at collecting money are

 called "Assets."    An Asset was considered too valuable to send

 back to the Philippines.     As such, CJF and KOJC would find a way

for the Assets to stay in the United States.          Usually, CJF or

 KOJC would facilitate a marriage to another member of KOJC so

that the Asset could stay in the United States.          Victim A knew

of KOJC workers who were good at raising money that were married

off for this purpose.

             i.   Victim A was scared of KOJC because of all the

stories that she had heard about members being "sanctioned"

(i.e., punished) for leaving KOJC or stating something negative

about KOJC or its leader.      Victim A believed, based on these

stories, that if KOJC found her, she would be beaten or killed.

             2.   Victim B

     13.     On or about August 9, 2019, the FBI interviewed Victim

B, who provided the following information:6

             a.   Victim B was a former KOJC member who fled the

organization in or around August 2019.        Victim B grew up in the




     5 In 2013, 500 Philippine pesos equaled approximately
$11.85.
      6 Victim B received housing benefits through non-government
organizations via FBI victim services on or about August 8,
2019.


                                     ~']
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Philippines and joined KOJC in 2009 when she was approximately

12 years old.    Victim B became a pastoral at the age of 14,

serving the needs of the KOJC leader.

            b.   Based on materials that I have seen during the

course of this investigation, including a template letter

provided by DUENAS to Victim B, addressed to immigration

authorities (discussed more fully below), as well as an FBI

interview with Victim B, I understand that Victim B often came

to the United States for KOJC, ostensibly to perform and attend

concerts.    Victim B typically stayed at the Van Nuys compound.

When KOJC workers came to the United States, DUENAS typically

kept the passports and identifying documents of the KOJC workers

in her office at the Van Nuys compound.

            c.   Victim B identified the leaders of KOJC at the

Van Nuys compound as CABACTULAN, DUENAS, and ESTOPARE.           Victim B

identified ESTOPARE as the KOJC chief financial administrator in

the United States.

            d.   The main responsibility of KOJC workers was to

raise money for the church.      Based on Victim B's administrative

role in KOJC, in which she had access to KOJC-worker

fundraising-reporting documents, Victim B stated:

                 i.    KOJC workers typically raised funds by

soliciting on the streets, caroling in shops, restaurants, or

neighborhoods, and sometimes selling pastries or goods.

                 ii.   KOJC workers fundraised nearly every day,

year-round, and worked very long hours.




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                 iii. KOJC workers were given a daily goal or

quota of money to raise based on the individual worker's

capacity.    KOJC workers worked until they reached their daily

goal, typically starting early in the morning until late at

night.

                 iv.   KOJC workers reported their fundraising

totals at the end of each day to the financial leaders of each

"Kingdom Light Congregation" ("KLC").~        The KOJC administrative

department, led by ESTOPARE in the United States, kept track of.

the finances and fundraising totals.

                 v.    If a KOJC worker did not make their daily

goal or quota, they were often punished by KOJC leaders,

including ESTOPARE, by being yelled at, shamed, or berated.

Victim A (noted above) similarly stated that workers might be

physically punished if they failed to meet their quota.

Likewise, Victim L (also noted above) stated that if a worker

does not raise enough money to meet the daily goal, the worker

is subjected to sanctions, including physical abuse.

                 vi.   Victim B also stated that CABACTULAN is a

KOJC leader in charge of legal matters who lived at the Van Nuys

compound.   According to Victim B, CABACTULAN, along with others,

made a report to KOJC leadership about an accusation that Victim

B was having a relationship with a non-KOJC male.          This resulted

in Victim B being forced to go to the "Upper Six," where KOJC

workers were sent for punishment and re-training.          At the Upper


     ~ Based on my knowledge of this investigation, including
interviews with KOJC victim-escapees, I understand that a KLC is
a KOJC place of worship.


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Six, Victim B was isolated for three to five days and forced to

fast and listen to prerecorded sermons from the KOJC leader.

                       (I)   Based on my knowledge of this

investigation, I understand that the Upper Six was a walled

compound used solely for punishment.        The purpose of Upper Six

was to "sanction" people that angered the church/pastor.

According to another victim with whom the FBI spoke on or about

February 10, 2016, Victim M (referenced above), I learned that

when Victim M arrived at the Upper Six, they shaved her head and

made her wear an orange shirt with "SOS" on the back, which

stood for "Son of Satan."      Victim M stated that on her first day

at Upper Six, she was hit on the back with a paddle

approximately 100 times.      According to Victim M, people in Upper

Six were assigned duties, and if the duties were not performed

perfectly, they were paddled.

     14.   The FBI interviewed Victim B again on or about August

20, 2019, when Victim B provided the following information:

           a.    Victim L, who was a KOJC worker and former

pastoral (as noted above), fled the organization in early 2015.

Victim L previously handled all the emails from and files for

KOJC workers reporting daily fundraising totals.          After Victim L

left the organization, Victim B took over those responsibilities

for a few weeks to finish the Month of Blessings.          Victim B

stated that ESTOPARE then took over the financials and reporting

from her, and has occupied that role ever since.

           b.    Based on Victim B's experience as a KOJC

administrator, as well as Victim B's personal experience with



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DUENAS taking Victim B's immigration documents, Victim B stated

that DUENAS was the KOJC human resources department leader in

the United States and was in charge of KOJC workers' paperwork,

including passports, green cards, identifying documents, and

visas.

            c.   Based on Victim B's personal experience, DUENAS

set up fraudulent marriages for KOJC workers.          DUENAS often

traveled to the different KLCs throughout the United States to

check on the status of the fraudulent marriages.          Victim B

stated that DUENAS had forced her to enter a fraudulent

marriage.

     15.    On April 22, 2016 and May 10, 2016, the FBI obtained

federal search warrants authorized by the Honorable Karen E.

Scott, United States Magistrate Judge, United States District

Court for the Central District of California (hereinafter

collectively referred to as the "Email Search Warrant"), case

numbers SA 16-212M and SA 16-241M, on two email accounts, one

belonging to Victim B.     During their review of the email

accounts, agents observed communications about travel

arrangements of the workers and leaders, groupings and goals of

the workers, and income goals.      Materials found under the Email

Search Warrant corroborated statements made by Victim B.           In

particular, agents discovered the following s



     8 A large portion of the email communications contained in
the email accounts were written in the Tagalog language. A
smaller portion of the email communications were written in
English, but include coded words. A victim assisted FBI agents
in deciphering some of the codes pertaining to the collection of
money and the workers.


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             a.   During the review of emails obtained via the

Email Search Warrant, a template letter was found.

Specifically, in an email dated January 20, 2016, with the

subject line ~~Invitation Letter.docx," DUENAS sent Victim B a

letter addressed to the "Honorable Consul, United States of

America."    The "RE" line read, "RE: Invitation for [blank] as

GUEST for the LIVE Concert Crusade in UNITED STATES OF AMERICA."

The body of the letter stated that the person named in the "RE"

line was "one of our special guest for this Kingdom's Concert

Crusade, [and] his presence in the concert schedule is deemed

important.    Thus, the Kingdom's USA Chapter is sponsoring his

stay in the country from [blank] to [blank] covering food and

travel accommodation for the whole duration of the event."            The

letter was signed by the "International Administrator" on

letterhead for KOJC.     The letter listed the Van Nuys Compound as

the Los Angeles, California address.

                  i.   Based on my training and experience, and

knowledge of this investigation, I know that immigration-law

offenders and human traffickers will provide fraudulent

immigration-related documents to victims in order to facilitate

their travel to other countries.         In the above example, while

the letter states that the purpose of the trip is to perform in

a concert, I know from speaking with victim-escapees that they

were instead predominantly used to beg for money on the streets

in order to raise money for KOJC administrators.          Notably, the

letter does not state that Victim B (or the KOJC worker more

generally) will be fundraising or soliciting money for KOJC or



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CJF.

             b.   Another email that I have reviewed, dated August

7, 2015, from DUENAS -- ~~Marissa Duenas"

(marissa.duenas@kojc.net) -- subject line "usa manpower

updated," and forwarded to Victim B, was obtained from the Email

Search Warrant.     The email contained three Word document

attachments, one of which was titled, ~~MULTIPLE VISA FTMWS and

THEIR AVE.docx."9    This document included a table with the

following columns:     "Name in USA," "Status," "Ave.Income," and

"Area."     The column, "Name in USA," contained a list of 93

individuals; the column "Status" listed whether the individual

was a citizen, green card holder, student, or whether they

should ~~change status"; the column "Ave.Income," which,

according to Victim B, referred to the average money raised by a

solicitor per day, listed a number ranging from 50.00 to 561.26;

and the column "Area" listed the name of a city or a state.            The

names were further divided up into a group of "income" producing

~~citizen[s]," which included certain names; and a group of "non-

income" `~citizen[s]," which included other names, including

ESTOPARE.    Those listed under the ~~STUDENT" column included

Victim B.    Ten "income" individuals had the notation "change

status" listed next to their name under the section "status."

The FBI sent the list of the ten individuals, who were under the



     9 Based on my knowledge of this investigation, including
interviews with victim-escapees, I understand that "FTMWS"
stands for "full-time miracle workers." In addition, from
interviewing victims and reviewing emails obtained through the
Email Search Warrant, I have learned that the term "miracle
workers" refers to members that solicit on behalf of KOJC.


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"Change Status" column, to USCIS.        USCIS obtained and reviewed

immigration information on nine of the ten names, and all nine

had applied to change status based on a marriage.

           c.     In an October 11, 2015 email from ESTOPARE,

specifically, from Amanda.estopare@kojc.net, with the subject,

"2015 mob plan,"10 and forwarded to Victim B, ESTOPARE was listed

under "Admin Staff," with her specific duty being "Accounting."

           3.     Victim C

     16.   On or about February 19, 2019, the FBI interviewed

Victim C, who provided the following information:ll

           a.     He/she started working as a full-time miracle

worker for KOJC in 2010 and moved into the Van Nuys compound

with his/her children.       Upon arriving, they had to give their

passports and identifying documents to someone else.           Workers

had to request access to passports and identifying documents; if

the request was granted, the documents had to be returned by the

end of the day.

           b.     He/she previously worked as a licensed attorney

in the Philippines, and he/she was given a position of trust

early on in his/her time with KOJC.        Specifically, Victim C

handled the marketing of a KOJC paper in the United States

before beginning to work as a driver and group leader of KOJC



     to From my knowledge of this investigation, interviews with
former members of KOJC, and review of emails obtained from the
Email Search Warrant, I know that KOJC members referred to the
Month of Blessings as the ~~MOB."
     11 During this investigation, Victim C was compensated
approximately $1,000 by the FBI on one occasion for providing
information and cooperating with the FBI.


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workers, a position in which he/she worked until 2018.            During

this time, he/she worked with KOJC administrators, including

(among others) DUENAS.

             c.    KOJC workers were given pamphlets describing CJF

as a charity for children in the Philippines.          Victim C's job at

KOJC was to drive workers around to solicit money.           In this

role, he/she would collect the money, record the amount of money

received, and bring that information back to the Van Nuys

compound or send the information via text message to whoever was

in charge.      ESTOPARE was the accounting and financial leader at

the Van Nuys compound, and all money earned was reported to

(among others) CABACTULAN.      CABACTULAN had an overall leadership

role in the United States.

             d.    Victim C stated that CABACTULAN asked him/her if

he/she would give up custody of his/her children.           Victim C did

not give up custody of his/her children, but CABACTULAN became

their guardian.      During the Month of Blessings, Victim C and

others were often separated from their children.          Victim C never

spent Christmas with his/her children while working for KOJC.

           e.      Victim C stated that if a KOJC worker proved to

be a good solicitor or earner, the worker would be forced to

apply for a student visa so they could stay in the United States

and continue soliciting.      KOJC was also involved in sham

marriages.      KOJC often forced top earning workers over 18 years

of age to marry United States citizens so they could stay in the

United States and continue soliciting.        Victim C stated that




                                    17
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his/her son, who was a United States citizen, was forced to

marry a top-earning KOJC worker.

           f.    In addition, Victim C stated that after the

search of a KOJC plane in Hawaii on February 13, 2018, some

changes were made within the organization.12         Specifically, a

portion of the immigration documents and passports previously

stored at the Van Nuys compound were placed at DUENAS's office

located at an address in Panorama City, California, within the

Central District of California.13       These documents included green

cards, passports, marriage documents, and student visas.

           g.    Victim C further stated that DUENAS possessed ATM

cards to show UCSIS that the couples in the sham marriages have

joint banking accounts.      DUENAS handles the credit cards of the

workers and that she also keeps packages at the Panorama City

address that consist of luxury items purchased in the United

States at her office, which she sends to the KOJC leader and his

pastorals approximately every few months.         These items include




      12 Based on my knowledge of this investigation, I know that
a KOJC plane was in fact searched in Hawaii in 2018 and that
more than $330,000 was found wrapped in socks in a bag
containing items reflecting the KOJC leader's name. The United
States Attorney's Office in Hawaii currently has a criminal case
against a KOJC administrator arising from that search, in which
the government has charged bulk cash smuggling and accessory
after the fact.
      13 Based on another witness interview, that is, statements
b y Victim G (discussed below), I understand that this location
in Panorama City is run by ESTOPARE and that DUENAS keeps
passports and identifying documents of KOJC workers at that
premises. In addition, on or about January 3, 2020, I reviewed
a rental agreement for the Panorama City premises and learned
that CABACTULAN has rented it since February 26, 2018, and that
her current rental agreement expires on February 29, 2020.
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Armani suits for the KOJC leader and lingerie from Victoria

Secret and beauty products for the pastorals.

     17.     On or about February 19, 2019 and June 26, 2019,

Victim C sent the FBI certain emails received while working full

time with KOJC, including emails that evidence ESTOPARE's

knowledge of KOJC solicitation activity.        For example:

             a.    On December 27, 2015, Victim C received an email

from ESTOPARE, via Amanda.estopare@kojc.net.          The email had the

subject line "names send thru moneygram."         The email provided

the names of four KOJC workers and their locations in the

Philippines.      Per the email, certain KOJC workers in the United

States were to wire money brought in through fundraising via

`~moneygram."

           b.     On October 24, 2014, Victim C received an email

from ESTOPARE, via Amanda.estopare@kojc.net.          The email had the

subject line "new terms."      The email stated, "here are the new

terms to be used for daily reporting."         The email included a

Word document attachment titled ~~NEW TERMS," which showed a list

of KOJC workers and their roles.         ESTOPARE was listed as ~~ADMIN

STAFF" with a role of "daily and weekly MOB reports/weekly

payables."

           c.     On January 26, 2016, Victim C received an email

from ESTOPARE, via Amanda.estopare@kojc.net.         The email had the

subject line "format."      The email included an Excel spreadsheet

for KOJC workers to report their "financial / cash flow report"

from October 23, 2015 through January 30, 2016.




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     18.     The FBI interviewed Victim C on June 10, 2019.         Victim

C provided the following information:

             a.   All KOJC workers reported their fundraising

totals to their group leader or coordinator, who then reported

the totals to ESTOPARE.      The reporting to ESTOPARE was typically

done through text messaging or Facebook messenger.           Similarly,

another victim (Victim E, referenced below) stated that ESTOPARF

kept all the financial information at the Van Nuys compound; if

a KOJC worker did not report their finances to ESTOPARE on time,

ESTOPARE would send text messages and pester the KOJC worker

until he or she reported.

             b.   KOJC workers were given instructions from

ESTOPARE, via text messages or Facebook messenger, as to what to

do with the fundraising money each day.         KOJC workers were often

instructed to deposit the cash into accounts and then make money

transfers.    ESTOPARE would send the names of people to whom the

KOJC workers were to transfer the money.

           c.     ESTOPARE instructed KOJC workers to make cash

deposits of less than $9,000, and Victim C believed that this

was a way to avoid detection from the banks.         Based on my

training and experience, and knowledge of this investigation, I

know that banks must report any deposits that they receive over

$10,000; accordingly, structuring deposits in the manner

reportedly instructed by ESTOPARE would have the effect of

evading detection by regulators and law enforcement.

     19.     On September 24, 2019, Victim C provided the FBI with

a printed copy of screenshots from Victim C's phone.          Victim C



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stated that all the screenshots were sent via text message,

email, and/or Facebook messenger to ESTOPARE.         The screenshots

consisted of ledgers, bank deposit receipts, wire transfer

receipts, reporting spreadsheets, and other bank account

information.       Victim C stated that all the screenshots were sent

to ESTOPARE as part of the daily quota reporting by KOJC workers

from the 2016-2018 Month of Blessings.

     20.     Victim C told the FBI that he/she believed that most

of the money raised by KOJC workers paid for a KOJC project in

the Philippines, KOJC operations worldwide, and the KOJC leader's

lifestyle.    According to Victim C, barely any of the money raised

for CJF went to kids in the Philippines.        Victim C provided a

spreadsheet titled "2018 USA Overall FR Goal," which he/she

obtained from ESTOPARE when Victim C was still part of KOJC.                   .~
Victim C described the spreadsheet as reflecting fundraising

goals for KOJC workers at each KLC for the year 2018.          The

spreadsheet showed the goals for the KLCs in the United States

and Central America.       The goals were divided into the following

categories:       `~Kingdome," ~~Weekly Multimedia," "Tribute/ICD," "IYC

Registration," "IKLC Registration," and ~~Total."        Victim C

further described each category as follows:

             a.     The "Kingdome" column pertains to fundraising to

help build a stadium called the "Kingdome" in the Philippines.

             b.     The "Weekly Multimedia" column reflects a

fundraising goal set by the various multimedia groups within

KOJC, such as a television program and newspaper.




                                     21
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           c.    The "Tribute/ICD" column pertains to fundraising

where funds are provided directly to the KOJC leader as a gift

on his birthday.     Victim C stated that many KOJC workers compete

to raise the most funds as a tribute to the KOJC leader.

           d.    The ~~IYC [International Youth Convention]

Registration" column pertains to fundraising to send KOJC youth

to the annual youth convention in Davao.

           e.    The "IKLC [International Kingdom Leadership

Conference] Registration" column pertains to fundraising to send

KOJC leaders of each KLC to the annual leadership conference in

Davao.

           f.    The spreadsheet shows a "Total" monthly

fundraising goal of $802,000.00 to be raised by KOJC workers at

KLC locations in the United States and Central America.

           g.    There is no indication on the spreadsheet that

any of the fundraising money is to go to CJF or needy children.

     21.   On January 22, 2020, the FBI interviewed Victim C, who

provided the following information:

           a.    ESTOPARE was the accounting and financial leader

at the Van Nuys compound.      After the MOB, KOJC announced new

assignments and appointments through email.         ESTOPARE was named

the accounting and financial leader every year.          In 2013,

ESTOPARE replaced CABACTULAN as the accounting and financial

leader.

           b.    From the end of 2016 until Victim C left KOJC in

2018, Victim C assisted ESTOPARE with KOJC finances.           Victim C

assisted ESTOPARE with counting money, buying socks, and rolling



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the money into socks for the KOJC workers who would be flying

back to the Philippines.        During this time, on Mondays, Victim C

made cash deposits at local banks and exchanged smaller bills

for crisp $100 bills, as directed by ESTOPARE.

             4.      Victim D

       22.   On or about October 20, 2019, FBI agents interviewed

Victim D, who provided the following information: 14

             a.      Victim D was a former KOJC member who was also a

pastoral.     She was sent from the Philippines to the United

States in 2014 to help with the Month of Blessings.           During the

MOB, KOJC workers were divided into assigned groups and areas to

fundraise.        Each group typically had a driver and a leader, who

was responsible for reporting the money that the group raised

each day.     Victim D stated that ESTOPARE was in charge of the

money and financial reporting in the United States during the

MOB.

             b.     KOJC workers often slept in their car overnight,

parked at truck stops, or occasionally stayed in a small hotel

room.    KOJC workers were expected to work as many hours as

needed in order to reach their daily goals, which were provided

b y ESTOPARE.

             c.     When returning back to the Philippines, every

KOJC worker typically brought back undeclared cash hidden in

socks and clothing within their luggage, as directed by KOJC

leadership, including ESTOPARE.


     14 Victim D received continued presence relief on December
31, 2019, which expires on December 30, 2021. Victim D received
continued presence from USCIS with FBI coordination.


                                     23
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           d.    The cash solicited during the MOB in 2017 was

collected at a KOJC mansion in Calabasas, California, within the

Central District of California.       According to Victim D, DUENAS

(and another KOJC administrator) later brought even more bags of

money to the mansion.       Based on my knowledge of this

investigation, including my review of mortgage records and

interviews of victim-escapees, I know that the Calabasas mansion

is owned by a KOJC administrator and that the KOJC leader stays

at the mansion when he comes to California.

           e.    CABACTULAN was the lead KOJC administrator in the

United States, in charge of both DUENAS and ESTOPARE.

           5.    Victim E

     23.   On or about November 20, 2019, the FBI interviewed

Victim E, who was previously identified by others victims (i.e.,

Victim L and Victim M) as the collector of money across the

United States.    Victim E provided the following information:ls

           a.    He was born in the Philippines and joined KOJC

with his family in 1997 when he was approximately 11 years old.

He left KOJC in or around November 2019.

           b.    In 2004, Victim E graduated high school and

became a full-time KOJC worker, fundraising full time and

residing at the Van Nuys compound.        KOJC did a lot of their

fundraising during the month of December, which was referred to

as the Month of Blessings, and would bring in KOJC workers from

the Philippines on R-1 (temporary nonimmigrant religious worker)



     is Victim E has not received any benefits of which I am
aware.


                                    24
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visas to solicit money.      After the Month of Blessings, most of

the KOJC workers then returned to the Philippines.

           c.     Victim E believed the money solicited went to

fund the KOJC leader's lifestyle in the Philippines or to

establish and maintain KOJC properties in the United States and

the Philippines, and not to help poor children in the

Philippines.     Victim E stated that there were no programs or

events set up through CJF for children so KOJC started doing

public things to "show" that CJF and KOJC were doing things to

help children.    Victim E believed that most fundraising now was

going to fund the "Kingdome" at the KOJC compound in Davao,

which he has seen and which is currently under construction.

Victim E also believed that the money was going to fund the

planes and helicopters that KOJC had in the Philippines, which

Victim E had also seen.

           d.    At least since in or around 2014, DUENAS was in

charge of the documents, visas, passports, and marriages of the

KOJC workers.    DUENAS collected the passports of the KOJC

workers and kept them in her office.        DUENAS's office used to be

in the Van Nuys compound, but Victim E now believed that DUENAS

had a new office at another location nearby.         Victim E stated

that if a K~OJC worker needed their documents for something

legal, they had to make a request and the KOJC leadership,

including DUENAS, had to go with them to the location where the

KOJC workers needed to use the documents.

           e.    Beginning in 2007, KOJC found new ways to have

KOJC workers stay in the United States because they could make



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more money soliciting in the United States than in the

Philippines.     KOJC started arranging marriages of KOJC workers

to members who were United States citizens so they could stay

and solicit money in the United States full time.

           f.     In 2008, Victim E, a United States citizen, was

married to another KOJC worker.       They were married at a wedding

chapel in Las Vegas, Nevada at the same time as other arranged

KOJC marriages.    Victim E stated that the marriage was strictly

to obtain citizenship for the other KOJC worker as there was no

romance between them and they did not live together.           Victim E

stated that the KOJC worker that he married was a pastoral, and

that pastorals were only for the KOJC leader, who made sure that

no other male workers talked to them or got close to them.16

According to Victim E, KOJC workers who got close to or had a

relationship with a pastoral would be subject to punishment,

including hard labor and paddling.

           g.    Victim E stated that in 2014, KOJC leadership,

including DUENAS, commenced divorce proceedings for Victim E

with respect to the above-referenced KOJC worker, without Victim

E's knowledge.    Victim E was then told he was to marry a

different KOJC worker.      Victim E met his future spouse at a

residence in Ohio to conduct the marriage interview process and

file the paperwork.     Victim E was instructed to lie regarding

this new marriage by DUENAS and CABACTULAN, i.e., to lie about


     16 According to Victim A, as well as other victim-escapees
whom the FBI interviewed, including Victim L and Victim M, in
addition to acting as the KOJC leader's personal assistants,
pastorals were obligated to perform "night duty," i.e., have sex
with the KOJC leader.
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being in a true romantic relationship and about living together.

Victim E and the KOJC worker got married in an office in Ohio at

the direction of KOJC leadership, including DUENAS.

             6.   Victim F

     24.     On or about November 20, 2019, FBI agents interviewed

Victim F; who provided the following information:l~

             a.   Victim F joined KOJC in approximately 2004 and

left in or around November 2019.         KOJC workers solicited money

on the streets and in many locations, including malls, colleges,

restaurants, Walmart, and Home Depot.        KOJC workers typically

solicited in groups and each group had a "Financial in Charge"

that counted the money collected by the group each day.            After

the money was counted, the Financial in Charge sent a daily

report to ESTOPARE.     ESTOPARE then sent the reports to KOJC

administrators in the Philippines who reported directly to the

KOJC leader.

             b.   Based on Victim F's personal experience as a

driver for KOJC, as well as Victim F's knowledge of ESTOPARE's

role in KOJC as being in charge of the money, Victim F believed

that ESTOPARE likely drove the money from the Van Nuys compound

to the mansion in Calabasas, California after the Month of

Blessings.

           c.     Some KOJC workers from the Philippines, who

arrive in the United States on a Bl/B2 (business and tourist)

visa, are married off so they can attempt to obtain United



     17 Victim F has not received any benefits of which I am
aware.


                                    27
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States citizenship.     KOJC administrators decide who will marry

whom and pass this information onto the KOJC coordinators.

Workers marry whomever they are told to marry because it is "the

father's will."

            d.   Victim F did not know the name of the lawyer s)

who assisted with the marriages, but based on Victim F's

involvement in KOJC, as well as his own experience being forced

to enter a fraudulent marriage, the paperwork was handled by

DUENAS, who is based at the Van Nuys compound.          Victim F stated

that DUENAS travels to various states to handle the marriages if

needed.    Victim F further stated that CABACTULAN handled the

paperwork for marriages before DUENAS.

           e.    Victim F, a United States citizen, married

another KOJC worker in 2013 at the direction of KOJC.           After

they were married, they were always assigned to work in the same

state when they were in the United States; however, they were

not always in the same state and never stayed in the same room.

Victim F's spouse was a Filipino citizen and married Victim F so

she could get United States citizenship.

           7.    Victim G

     25.   On or about March 14, 2019, the FBI interviewed Victim

G after he submitted a tip to the FBI Public Access Line.           Victim

G provided the following informational$




     is Victim G has not received any benefits of which I am
aware.
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           a.    He joined KOJC in 2010 at the age of 12 and

solicited on behalf of KOJC.       He left KOJC in approximately May

or June 2018.

           b.    Upon arrival at the Van Nuys compound, all

identifying documents, such as green cards and passports, were

given to the KOJC leadership.       The passports and identifying

documents were held secure in the office at the compound.

ESTOPARE ran the office, and DUENAS kept the passports and

identifying documents of KOJC workers.         KOJC workers had to have

a reason and apply to get access to their passports and

identifying documents.

           c.    Most of the fundraising was done by KOJC workers

asking people for money or singing in public places.           Each KOJC

worker had a monetary quota that they were to raise each day.

Victim G was forced to raise funds during high school.           He and

any other KOJC workers who attended school outside KOJC were

t ypically dropped off and picked up by a KOJC worker.          He raised

funds almost every day after school from 3:00 p.m. until

approximately 9:00 p.m.      ESTOPARE was one of the main treasurers

who lived at the Van Nays compound and decided what the KOJC

workers were to do with the money brought in through

fundraising.

           d.    KOJC workers had to solicit money nearly every

day.   KOJC workers solicited by "fundraising" for CJF, which was

described as a charity to support children in the Philippines.

Victim G stated that barely any of the money raised for CJF went

to children in the Philippines.       Victim G believed that most of



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the money raised went toward building the "Kingdome" in the

Philippines and funding the KOJC leader's lifestyle.           Victim G

stated that the fundraising quotas required by KOJC workers had

increased since 2013 because the KOJC leader wanted to build the

Kingdome in the Philippines.       The Kingdome was to be finished in

2015 but was still under construction.

           8.    Victim H

     26.   On November 20, 2019, the FBI interviewed Victim H,

who provided the following information:19

           a.    Victim H joined KOJC with her family in 1989 when

she was five years old.      She began fundraising and soliciting

money for KOJC when she was 12 years old.         She left KOJC in or

around November 2019.

           b.    In 2013, she was first sent to the United States

to fundraise as part of the MOB.         Whenever she came to the

United States for KOJC, she and all the other KOJC workers had

to turn in their passports to the administrative staff at the

Van Nuys compound, which included DUENAS and ESTOPARE.           The

passports and identifying documents were kept at the office and

were given to workers only as needed.         Victim H was not able to

freely access her documents.

           c.    Each fundraising group of KOJC workers in the

United States was assigned a daily fundraising quota.           The daily

quotas were assigned by the leaders of each KLC group, who were




     19 Victim H is in the process to receive continued presence.
Victim H has also received housing from a non-governmental
organization.


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assigned by ESTOPARE; ESTOPARE was the KOJC financial leader in

the United States.

           d.     KOJC workers were instructed by ESTOPARE and the

administrative staff where to deposit the money brought in

through fundraising.     KOJC workers were often instructed to wire

money from one bank account to another, or to send money via

MoneyGram and/or Western Union, as instructed by ESTOPARE or the

administrative staff.

           e.     KOJC workers who did not make their daily quotas

were verbally yelled at and emotionally abused.          Aside from two

weeks out of the year, Victim H never had a day off from

fundraising and was forced to fundraise almost every day, seven

days a week.     She was never paid by ESTOPARE or KOJC for

fundraising or for any other obligations that she undertook on

KOJC's behalf.

           f.    In 2016, DUENAS applied for a student visa on

Victim H's behalf and enrolled her as a student at a university

in California.    Two years later, Victim H was enrolled at a

different university in California.        Victim H stated that

classes were typically one day a week from 9:30 a.m. until 7:00

p.m., and that there were approximately 20 KOJC workers enrolled

at the latter university.      Victim H stated that she was forced

to attend class, and the group was driven by another KOJC worker

who was also a student.      DUENAS was in charge of applying for

the student visas of KOJC workers and enrolling them into

universities.    Victim H believed this was used as another way

for KOJC to keep workers in the United States soliciting year-



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round.       Victim H believed that KOJC used these two universities

because of their lenient attendance policies, consisting of one

class per week or twice per month.          When Victim H was not

attending class, she was forced to fundraise and solicit for

KOJC.    The above-referenced universities did not have class

during the winter holidays, which was during the Month of

Blessings, so many of the students could fundraise full time all

across the country during that time.         Based on a discussion with

another law enforcement agent specializing in immigration law, I

understand that individuals who hold student visas and are

currently in school (i.e., they have not graduated) are

generally not allowed to work.

              9.   Victim I

       27.    On or about November 12, 2019, the FBI interviewed

Victim I, who provided the following information:

              a.   Victim I had been a life-long member of KOJC and

worked for KOJC in various capacities.20         Most recently, Victim I

worked as an attorney for KOJC in the Philippines.           Victim I

provided the names of several individuals who might have

information regarding KOJC's finances, including a former banker

for KOJC who left the organization in 2019.         This former banker

emailed Victim I information about KOJC's Philippine and

international bank accounts, which Victim I then provided to the

FBI.


     20 On January 21, 2020, Victim I received continued presence
relief, with the assistance of the FBI, which expires on or
about January 20, 2022. Victim I also received temporary
housing through a non-governmental organization, which Victim I
obtained on her own accord, on November 21, 2019.


                                     ~C~a
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              b.    Among the documents from the former banker was an

 Excel spreadsheet documenting "remittance" from various

 countries, as well as wire transfer information, including the

 amount, sender, and recipient.      According to this spreadsheet,

 on December 6, 2017, CABACTULAN transferred $10,985 earned by

"Amanda's Team" to `The Executive Pastor," and the transaction

 was marked as "claimed."      On February 8, 2018, CABACTUT.AN

transferred $15,000 earned by "Amanda's Team" to "The Executive

Pastor," but the transaction was not marked as "claimed."

                    i.   Based on my training and experience and

 knowledge of this investigation, I believe that $10,985 earned

b y "Amanda's Team" refers to the amount of funds raised, through

begging and other solicitation activity, by KOJC workers on a

certain team; I also believe that when this money is transferred

to ~~The Executive Pastor," it is sent to the KOJC leader, as

opposed to the nonprofit CJF in order to help in-need children.

Based on my training and experience and knowledge of this

investigation, I understand that "claimed" means that the

recipient of the transaction -- "The Executive Pastor" --

obtained the sent funds.

              10.   Victim J

        28.   On October 7, 2019, the FBI interviewed Victim J, a

former KOJC worker who fled the organization in or around October

2019.     Victim J provided the following information:21




     21 Victim J received continued presence relief on January
13, 2020, which expires on January 12, 2022. Victim J received
such relief from USCIS with FBI coordination.


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            a.    Victim J started working full time with KOJC in

2002 while studying in Singapore.

            b.    The more intensive fundraising by KOJC workers in

the United States was during the MOB.

            c.    From 2015-2017, ESTOPARE had personally given him

between $8,000-$9,000 cash to carry each time he flew back to

the Philippines.    ESTOPARE gave KOJC workers nearly $9,000 each,

in undeclared cash, to carry in their luggage when flying back

to the Philippines.

            d.    Victim J believed that all the money raised by

KOJC workers went to KOJC in Davao, and not to CJF or in-need

children.    Victim J stated that after the KOJC leader obtained

his own aircraft, the KOJC leader decided he wanted more money.

In 2010 or 2011, fundraising activities increased, and daily

quotas were raised so the KOJC leader could buy a brand new

private jet.     Because the fundraising was going so well in 2011,

KOJC leaders decided it should continue.         KOJC began building a

stadium (the `~Kingdome") and bought luxury cars, which were to

be used by the KOJC leader inside his compound in Davao -- all

of which Victim J has personally seen.        According to Victim J,

the KOJC leader had a Mercedes and a Bentley shipped to Davao

from the United States, and bought a bullet proof Cadillac

Escalade and other bullet proof vehicles.         Victim J has seen

these luxury items as well.

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     E.    Further Evidence of a Conspiracy to Commit Immigration
           Fraud

     29.   As documented in a report, which I have reviewed, on

or about March 20, 2018, officers from USCIS visited an address

at 3506 Sewells Point Road, Norfolk, Virginia in order to

investigate the marriage of two persons (hereinafter referred to

as "Person 1" and "Person 2") following Person 1's application

for lawful permanent residence status.        During the course of

their investigation, USCIS observed the following:

           a.    During the interview of Person 1 and Person 2,

they stated that they lived with a third person ("Person 3") and

another person, who I believe to be, based on the name, Victim

F, referenced above.

           b.    As detailed in their report, while at the

subjects' residence, the officers were shown around the house by

the landlord.    When asked about Person 3 and Victim F, the

landlord told the officers that they had moved to Van Nuys,

California the previous year and that they had told her "to tell

that to CIS" if they inquire.       The officers observed bunk beds

in the residence and, when questioned about them, the landlord

stated that she had bunk beds in the room because "they were

church beds before."     The officers noted a poster for CJF and

two large photographs of the KOJC leader in the residence.

Eventually, the landlord admitted to the officers that Person 1

and Person 2 did not live with her at the Sewells Point Road

address, but rather lived at the church.




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           c.     During the inspection, the officers encountered

mail addressed to a fourth person ("Person 4") at the residence,

and the landlord stated that Person 4 was `yin charge" and was

the ~~coordinator" at the church.22      The landlord said that Person

4 was married to a woman ("Person 5") who lived in California

while Person 4 lived in Virginia.        Person 2 later stated during

the investigation that he did not think that Person 4 was

married.   Based on my training and experience, and involvement

in this investigation, I believe that Person 2's statement that

he did not think that Person 4 was married is based on the fact

that KOJC members did not openly discuss marriage with other

KOJC members.    I understand that this was so because KOJC

workers often viewed marriage as an arrangement dictated by KOJC

leadership, a transaction not rooted in romance but in "the

father's will."

           d.    Record checks revealed that Person 4 was married

to Person 5, who worked for CJF in Glendale, California.            During

the investigation, USCIS informed the FBI that Person 4 had a

pending I-751, Petition to Remove Conditions on Residence, that

was filed in Fresno, California, and that he had applied for a

permanent green card based on his marriage to Person 5.

           e.    According to USCIS's report, during the interview

of Person 1 by USCIS, which occurred in Virginia at the

premises, conducted after she applied for lawful permanent




     22 A review of the Virginia Business Database revealed that,
as of December 29, 2017, Person 4 was the registered agent for
"The Kingdom of Jesus Christ, Tnaen Virginia Inc."


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residence status, Person 1 stated that neither she nor her

husband worked, and that she was not volunteering anywhere.

            f.    According to USCIS's report, during Person 2's

USCIS interview, which occurred at a KOJC church in Norfolk,

Virginia, he admitted that he actually stayed at the KOJC church

on a folding bed, and that he had spent the past four months

there.    When the officers asked to see where he slept, the

officers observed evidence of multiple people living there.            At

one point, the officer could hear a baby cry from behind a

locked door.     The occupants refused to open the door and Person

2 was evasive about the number of beds that were inside.

           g.     During the interview of Person 2 by USCIS, he

stated that DUENAS helped Person 2 and his wife with immigration

paperwork, telling the officers that "[DUENAS] gave us ideas for

the paperwork."       He stated that DUENAS was merely a member of

KOJC and did not work for the church and that she was located at

the Van Nuys KOJC church, located at the Van Nuys compound.

                 i.     Based on my conversations with USCIS

Immigration Officer Levon Arslanian, who reviewed immigration

records of known KOJC members, between March 19, 1999 and

December 5, 2019, 82 marriages were entered by KOJC

administrators and full-time solicitors.

    30.    In addition, based on my review of a Townson

University (Maryland) Police Department report, I know that on

June 30, 2018, Towson University Police Department responded to a

report of possible "charity scammers soliciting donations."           The

complainant stated that he was approached by two solicitors, who



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asked for donations on behalf of CJF.        A Townson University

Police Department officer approached them, and they provided the

officer with brochures and identification cards issued by CJF,

showing an address in Glendale, California, within the Central

District of California.     Neither solicitor had any other

identification on them.     The officer called the number on the

card and spoke with ESTOPARE, who stated that she worked for CJF.

ESTOPARE stated that the charity helped poor children, and that

she was familiar with the two solicitors.

     31.     According to United States immigration records

reviewed by USCIS, one of the solicitors was issued a Bl/B2

(business and tourist) visa on October 8, 2013 to be a violinist

on a three-month tour -- not to solicit money on the streets.

She listed the Van Nuys compound as her United States address.

She entered as part of a group of seven individuals.          She was

admitted to the United States with a return date of March 28,

2016, meaning that she was not in the United States with legal

immigration status on the date of her interaction with Towson

police.

     32.     Beyond the emails described above, other emails from

the Email Search Warrant show CABACTULAN's, DUENAS's, and

ESTOPARE's involvement in a conspiracy to commit immigration

fraud.     For example:

             a.   In an email, which I have reviewed, dated October

24, 2015 from a KOJC worker to ESTOPARE, subject line,

`~RosefR02310," and forwarded to Victim B, the worker wrote in

the body of her letter:
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     Te [elder sister], yesterday we were not sure of the
     area so I have them accompanied the newbies to show
     them the ways on how to harvest indoor and outdoor
     especially in Walmart, market and to enter the resto
     [sic] some of them were already experience in asking
     donations but still a little nervous.

                  i.   Based on my training and experience and

knowledge of this investigation, I believe this email describes

new KOJC solicitors being trained on how to solicit on behalf of

KOJC at Walmart and other locations.

             b.   The author of the above email continued her email

to ESTOPARE by analyzing how each person in her group did during

their "harvest," noting that a certain worker "is still

adjusting, seems like she is not used to indoor harvest and

[another worker] taught her how to approach the Spanish and

other race at walmart [sic]."       With regard to two other

solicitors, the email's author wrote to the administrators that

"ptf (praise the father) Te (elder sister) they went together to

the mall.    [A worker] did good, have potential to reach the

daily goal of 1000.     Just need a little coaching to be a little

faster.     Bless the father, have the nerves to approach different

races."   She ended the letter by telling the administrators that

`gas of now we are still in Utah.        We drop them early so we can

reach our goal before nighttime."

                  i.   Based on my training and experience and

knowledge of this investigation, I believe that the author of

the email is informing KOJC administrators on how new solicitors

are performing, including whether they have the potential to

reach a daily solicitation quota of $1,000.



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     33.   In an email dated October 24, 2015 from a KOJC worker

to (among others) ESTOPARE -- ~~Amanda Estopare"

(Amanda.estopare@kojc.net) -- with the subject line,

`~OCTOBER230215FR," the author of the email provided a tally of

how much her group of solicitors raised on October 23, 2015,

listing the total for the day as $2,777, with a net income of

$2,407 after expenses.23     The email's author was listed as the top

earner with $701.    In her summary, the author stated, "we

traveled to our area in Minneapolis where we are claiming

miracles and abundant Blessings in our harvest."

     34.   In addition, I have reviewed an email obtained from

the Email Search Warrant, dated October 11, 2015, with the

subject "2015 mob plan," and forwarded to Victim B.          In the

email, CABACTULAN was noted as being in charge of the "Northern

Command" of the "KLC's" "Full Time Workers and Members."

     35.   The FBI further obtained an email from the Email

Search Warrant, dated September 25, 2014, from DUENAS to other

KOJC administrators, in which DUENAS tells the United States KOJC

coordinators the following:      "[A]ttached herewith is the list of

FTW's [full time workers] bound to USA via LAX and SF and List of



     23 The email does not specify that the amounts are in
dollars, but the email does state that the group was in
"Minneapolis." Further, the email was written in coded
language. For example, AIO followed by a name is code to
signify the person is on a certain team. Sierra team espresso
is code for the team's expenses, manna is code for food, dmanna
is code for driver's food, cp+load is code for cellphone bill,
and toll espresso is code for total expenses. Based on the
context of the email, my knowledge of this investigations, and
conversations with Victim B, who received the email, I believe
the above information accurately reflects the content of the
email.


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FTW's bound USA via JFK New York.        I already sent to the tickets

for FTW's via LAX and SF to [names omitted].             We will also

send u later a series of probable questions and answers; just in

case they will be ask by the immigration officer upon entry.

Their answers must coincide with the office, just in case we

receive an inquiry or call.      We are finishing it now because Ate

Guia (CABACTULAN) will be answering the phone."

             a.   Based on my training and experience, and

knowledge of this investigation, when DUENAS states that "[w]e

will also send u later a series of probable questions and

answers," I believe DUENAS and her co-conspirators, including

(per the email, CABACTULAN) coached KOJC workers on how to

answer questions from immigration authorities in order to avoid

detection.    In addition, when DUENAS states, ~~Their answers must

coincide with the office," I believe DUENAS is attempting to

manufacture a uniform response vis-a-vis CABACTULAN -- who `will

be answering the phone" -- to thwart immigration and law

enforcement efforts.     Based on my training and experience, and

knowledge of this investigation, such tactics are used by

immigration-law offenders, including human traffickers.

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                              IV. CONCLUSION

     36.   For all the reasons described above, there is probable

cause to believe that CABACTULAN, DUENAS, and ESTOPARE have

conspired to commit immigration fraud, in violation of Title 18,

United States Code, Section 371.




                                         ANNE M. WETZEL
                                         Special Agent, Federal Bureau
                                         of Investigation


Subscribed to and sworn
before me this day of
J  uary 2020.




   ORABLE     MN D. SPAETH
UNITED STATES MAGISTRATE JUDGE
